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1                                                      JUDGE PECHMAN
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8                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
9                                     AT SEATTLE
10   UNITED STATES OF AMERICA,                  )
                                            Case No. CR04-301P
                                            )
11                         Plaintiff,       )     ORDER
                                            )     CONTINUING TRIAL DATE
12              v.                          )     AND DEADLINE FOR FILING
                                            )     OF PRETRIAL MOTIONS
13   THOMAS EDWARD SUMMERS,                 )
                                            )
14                         Defendant.       )
     _______________________________________)
15

16                                             ORDER
17          THE COURT has the parties’ Stipulation to Continue Trial Date concerning a
18   continuance of the trial date. The parties agree and
19          the Court finds that a failure to grant the continuance would deny counsel the
20   reasonable time necessary for effective preparation, taking into account the exercise of
21   due diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii), and taking into
22   account defense counsel’s unavailability until mid-December 2005;
23          and that a failure to grant the continuance would deny the defendant continuity of
24   counsel, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(iv);
25          and the Court further finds that the ends of justice will be served by ordering a
26   continuance in this case, that a continuance is necessary to ensure effective pretrial and
27   trial preparation, and that these factors outweigh the best interests of the public and the
28   defendant in speedy trial, within the meaning of 18 U.S.C. § 3161(h)(8)(A).

     ORDER CONTINUING TRIAL DATE RE - 1
     DEFENDANT SUMMERS IN
     CASE NO. 04-0301-MJP
          Case 2:04-cr-00301-MJP       Document 1054        Filed 10/27/05    Page 2 of 2



1          The Court finds that the period of time from the current trial date of
2    November 7, 2005 until the new trial date of January 9, 2006, shall be excludable time
3    pursuant to the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
4          IT IS THEREFORE ORDERED, that the trial in this matter is continued until
5    January 9, 2006. Pretrial motions are due by December 1, 2005.
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7          DATED this 27th day of October, 2005.
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                                            /S/Marsha J. Pechman
10                                          THE HONORABLE MARSHA J. PECHMAN
                                            UNITED STATES DISTRICT JUDGE
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     ORDER CONTINUING TRIAL DATE RE - 2
     DEFENDANT SUMMERS IN
     CASE NO. 04-0301-MJP
